Case 1:16-cv-00211-DBH Document 73 Filed 08/31/17 Page 1 of 2          PageID #: 415




                      UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE


 BRADLEY PAUL WILLIAMS,                     )
                                            )
                          PLAINTIFF         )
                                            )
 V.                                         )      CIVIL NO. 1:16-CV-211-DBH
                                            )
 WALDO COUNTY MAINE DEPUTY                  )
 MERL REED AND BELFAST MAINE                )
 POLICE CHIEF MIKE McFADDEN,                )
                                            )
                          DEFENDANTS        )


                      ORDER ON SUPPLEMENTAL MOTION
                         FOR SUMMARY JUDGMENT


        The Waldo County defendants have filed a supplemental motion for

summary judgment, seeking summary judgment on any state law claims against

them.    On July 26, 2017, I granted them summary judgment on all federal

claims. Dec. & Order on Defs.’ Mot. for Summ. J. (ECF No. 70). The date has

passed for a response and the plaintiff has filed none. Under Local Rule 56(f),

the defendants’ statement of material facts, if properly supported by record

citations, is deemed admitted. See also Fed. R. Civ. P. 56(e)(2) & (3). As a result,

the record establishes that the plaintiff failed to file a notice of claim as required

by the Maine Tort Claims Act, 14 M.R.S.A. § 8107(1). According to Maine law,

therefore, he cannot pursue his state law claims against these defendants. 14

M.R.S.A. § 8107(4).    I find it unnecessary to address the defendants’ other

arguments for summary judgment.
Case 1:16-cv-00211-DBH Document 73 Filed 08/31/17 Page 2 of 2   PageID #: 416




     The defendants’ motion for summary judgment on the state law claims is

GRANTED.

     SO ORDERED.

     DATED THIS 31ST DAY OF AUGUST, 2017

                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




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